  Case 18-13273-BFK                     Doc 6 Filed 09/30/18 Entered 10/01/18 00:19:47                                   Desc Imaged
                                             Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Dagmar I Kern                                                     Social Security number or ITIN        xxx−xx−1031
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2              Hans P Kern                                                       Social Security number or ITIN        xxx−xx−1760
(Spouse, if filing)
                      First Name   Middle Name   Last Name                              EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 9/27/18
Case number:          18−13273−BFK


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    Dagmar I Kern                                          Hans P Kern

2.     All other names used in the
       last 8 years

3.     Address                               15238 Louis Mill Dr                                     15238 Louis Mill Dr
                                             Chantilly, VA 20151−1317                                Chantilly, VA 20151−1317

4.     Debtor's attorney                     Robert R. Weed                                         Contact phone (703) 335−7793
       Name and address                      Law Offices Of Robert Weed                             Email: robertweedlaw@yahoo.com
                                             1376 Old Bridge Rd
                                             Suite 101−4
                                             Woodbridge, VA 22192

5.     Bankruptcy trustee                    H. Jason Gold                                          Contact phone (202) 712−2800
       Name and address                      Nelson Mullins Riley & Scarborough LLP                 Email:
                                             101 Constitution Avenue, N.W.                          jason.gold@nelsonmullins.com
                                             Suite 900
                                             Washington, DC 20001
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Dagmar I Kern and Hans P Kern                                                                          Case number 18−13273−BFK


6. Bankruptcy clerk's office                     200 South Washington Street                            For the Court:
                                                 Alexandria, VA 22314
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: September 28, 2018
    www.pacer.gov.                         Contact phone 703−258−1200
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          November 5, 2018 at 09:00 AM                           Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         1725 Duke Street, Suite 520,
    questioned under oath. In a joint case,                                                             Alexandria, VA 22314
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: January 4, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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Debtor Dagmar I Kern and Hans P Kern                                                                           Case number 18−13273−BFK


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of December 16, 2013, for payment of fees and services.
    Alexandria Case and                Payment may be made by non−debtor's check, money order, cashier's check made payable
    Adversary Filing and               to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's credit card.
    Miscellaneous Requests
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
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                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-13273-BFK
Dagmar I Kern                                                                                              Chapter 7
Hans P Kern
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: chandlerk                    Page 1 of 1                          Date Rcvd: Sep 28, 2018
                                      Form ID: 309A                      Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 30, 2018.
db/jdb          Dagmar I Kern,    Hans P Kern,   15238 Louis Mill Dr,   Chantilly, VA 20151-1317
14546351       +Chase Auto,    PO Box 901003,   Fort Worth, TX 76101-2003
14546352       +Citi,   PO Box 6190,    Sioux Falls, SD 57117-6190
14546354       +Citicards CBNA,    PO Box 6190,   Sioux Falls, SD 57117-6190
14546357        Nationstar Mortgage,    PO Box 199111,   Dallas, TX 75219
14546358       +Shapiro & Brown LLC,    10021 Balls Ford Rd Ste 200,   Manassas, VA 20109-2666

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: robertweedlaw@yahoo.com Sep 29 2018 03:12:19      Robert R. Weed,
                 Law Offices Of Robert Weed,   1376 Old Bridge Rd,    Suite 101-4,    Woodbridge, VA 22192
tr             +EDI: FHJGOLD.COM Sep 29 2018 07:03:00     H. Jason Gold,
                 Nelson Mullins Riley & Scarborough LLP,   101 Constitution Avenue, N.W.,     Suite 900,
                 Washington, DC 20001-2133
14546349       +EDI: AMEREXPR.COM Sep 29 2018 07:03:00     American Express,    PO Box 981537,
                 El Paso, TX 79998-1537
14546350       +EDI: CAPONEHL.COM Sep 29 2018 07:03:00     Capital One,    PO Box 105385,
                 Atlanta, GA 30348-5385
14546353       +EDI: CITICORP.COM Sep 29 2018 07:03:00     Citi Cards/Citibank,     PO Box 6241,
                 Sioux Falls, SD 57117-6241
14546355       +EDI: CBSKOHLS.COM Sep 29 2018 07:03:00     Kohls/CapOne,    PO Box 3115,
                 Milwaukee, WI 53201-3115
14546356       +EDI: RMSC.COM Sep 29 2018 07:03:00     Lowes/Synchrony Bank,    PO Box 530914,
                 Atlanta, GA 30353-0914
14546359       +EDI: STF1.COM Sep 29 2018 07:03:00     Suntrust,   PO Box 79079,     Baltimore, MD 21279-0079
14546360        EDI: STF1.COM Sep 29 2018 07:03:00     Suntrust Bank,    Po Box 85526,    Richmond, VA 23285-5526
14546361       +EDI: WFFC.COM Sep 29 2018 07:03:00     WF CRD SVC,    PO Box 14517,    Des Moines, IA 50306-3517
                                                                                              TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 30, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 28, 2018 at the address(es) listed below:
              H. Jason Gold   jason.gold@nelsonmullins.com,
               VA19@ecfcbis.com;jgold@ecf.epiqsystems.com;hjg@trustesolutions.net;robert.ours@nelsonmullins.com;
               lori.stewart@nelsonmullins.com
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
              Robert R. Weed   on behalf of Debtor Dagmar I Kern robertweedlaw@yahoo.com,
               atty_robertweedcases@trustesolutions.com;Rvnotices@gmail.com;robertweedcases@gmail.com;LawOffices
               OfRobertWeed@jubileebk.net
              Robert R. Weed   on behalf of Joint Debtor Hans P Kern robertweedlaw@yahoo.com,
               atty_robertweedcases@trustesolutions.com;Rvnotices@gmail.com;robertweedcases@gmail.com;LawOffices
               OfRobertWeed@jubileebk.net
                                                                                            TOTAL: 4
